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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION

COURTNEY WHITE,                        )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )     Civil Action No.
                                       )
ENHANCED RECOVERY                      )
COMPANY, LLC,                          )
                                       )
      Defendant.                       )


               NOTICE OF REMOVAL TO FEDERAL COURT

      Defendant, Enhanced Recovery Company, LLC (“ERC”), by and through its

undersigned counsel and, pursuant to 28 U.S.C. § 1446, hereby files its Notice of

Removal of this action from the Magistrate Court of Richmond County, State of

Georgia, to the United States District Court for the Southern District of Georgia,

and shows the Court as follows:

      1.     On October 2, 2017, Plaintiff, Courtney White (“Plaintiff’), filed a

civil action in the Magistrate Court of Richmond County, styled Courtney White

vs. Enhanced Recovery Company, LLC, Case No. 2017-M0-3510.

      2.     On October 26, 2017 a copy of the Statement of Claim was served on

ERC. This Notice of Removal is being filed within thirty (30Udays, pursuant to
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Federal Rule of Civil Procedure 6, of Defendant’s receipt through service of

Plaintiffs Statement of Claim and, therefore, under 28 U.S.C. § 1446(b)(1), this

Notice of Removal is timely and proper.

      3.     Additionally, pursuant to 28 U.S.C. § 1446(a), true and legible copies

of all process, pleadings, orders, and other papers or exhibits of every kind on file

in the state and known to have been served by, or upon ERC, are attached hereto as

composite Exhibit “A.” Defendants are not aware of any further proceeding in the

above-described civil action.

      4.     This Court possesses original jurisdiction over this matter pursuant to

28 U.S.C. § 1331, as this civil action involves a federal question.

      5.     Plaintiff alleges that ERC violated the Telephone Consumer

Protection Act, 47 U.S.C. § 227, et seq. (the “TCPA”), by calling Plaintiffs cell

phone without consent and using an automated telephone dialing system. The

TCPA is a law of the United States and, therefore, pursuant to 28 U.S.C. § 1441(a),

this claim is removable to this Court.

      6.     Defendant will promptly file the Notice of Filing Notice of Removal

attached hereto as Exhibit “B,”1 with a copy of this Notice of Removal, in the




1 The exhibit to the Notice of Filing Notice of Removal, consisting of this Notice
of Removal, has been omitted from Exhibit A.

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Office of the Clerk of the Magistrate Court of Richmond County. Defendant will

also promptly provide a written copy of the Notice of Removal to Plaintiff.

       7.    Defendant has complied with all conditions precedent to the removal

of this action.

       WHEREFORE,        Defendant,    Enhanced     Recovery     Company,     LLC,

respectfully gives notice that the above-described civil action now pending in the

Magistrate Court of Richmond County, is removed therefrom to this Court.

Dated: November 27, 2017

                                  SMITH, GAMBRELL & RUSSELL, LLP


                                  Stephen E. O’Day_____________
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                         CERTIFICATE OF SERVICE

      I certify that on November 27, 2017,1 electronically filed the foregoing with

the Clerk of Court by using the CM/ECF system and have served a true and correct

copy on the person below via electronic mail and First Class Mail:

                           Pro Se Plaintiff:
                           Courtney White
                           2158 B Street
                           Augusta, GA 30904
                           Email: whitec21@gmail.com



                                          Stephen E. O ’Day_____
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